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 1    Yitzchak Zelman, Esq., (Admitted Pro Hac Vice)
      MARCUS & ZELMAN, LLC
 2    701 Cookman Avenue, Suite 300
 3    Asbury Park, New Jersey 07712
      Tel: (732) 695-3282
 4
      Fax: (732) 298-6256
 5    Email: yzelman@marcuszelman.com
 6
      Attorneys for Plaintiff

 7
 8                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
                             LOS ANGELES DIVISION
10
11
12     ETA TIKOTZKY, individually and
13     on behalf of all others similarly             C.A. No.: 2:19-cv-06968-JWH-JC
       situated,
14
15                             Plaintiff
16
                                                     STIPULATION OF DISMISSAL
17     -against-
18
19     CENTURY 21 PLAZA
20     a California Corporation,
21
                               Defendant
22
23
24
            Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

25    the parties hereby stipulate to the Plaintiff’s voluntary dismissal of her claims
26    against Defendant in the above-captioned matter, with prejudice as to the named
27    Plaintiff’s claims and without prejudice as to the claims of the putative class
28    members. A proposed Order of Dismissal is annexed hereto as Exhibit A.



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 1
      Dated:     May 6, 2021
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 3
      /s/ Yitzchak Zelman                       /s/ Rick J. Nehora
 4
      Yitzchak Zelman, Esq.                     Rick J. Nehora, Esq.
 5    Marcus & Zelman, LLC                      Nehora Law Firm APC
 6
      701 Cookman Avenue, Suite 300             23 Corporate Plaza Drive, Suite 150
      Asbury Park, NJ 07712                     Newport Beach, CA 92660
 7    Office: (732) 695-3282                    Office: (949) 629-4349
 8    yzelman@marcuszelman.com                  rnehora@nehoralaw.com
      Attorneys for Plaintiff                   Attorneys for Defendant
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      Eta Tikotzky                              Century 21 Plaza
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